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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
V.                                               )           Criminal No. 06-40057-06-MJR
                                                 )
CHAD GRAVES,                                     )
                                                 )
               Defendant.                        )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Count 1 of the Superseding Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and that the

offense charged is supported by an independent factual basis containing each of the essential

elements of such offense. I therefore recommend that the plea of guilty be accepted, that a

presentence investigation and report be prepared, and that the Defendant be adjudicated guilty

and have sentence imposed accordingly.

       Defendant, who has been detained pending trial, shall remain detained pending the

District Court’s acceptance of his guilty plea, after which 18 U.S.C. § 3143(a) dictates that he be

detained pending sentencing.




                                        Recommendation

                                                 1
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       For the aforestated reasons it is the recommendation of this Court that the plea of guilty

be accepted, that a presentence investigation and report be prepared, and that the Defendant be

adjudicated guilty and have sentence imposed accordingly.


       DATED: June 15, 2007
                                                     s/ Clifford J. Proud
                                                     CLIFFORD J. PROUD
                                                     U. S. MAGISTRATE JUDGE

                                            NOTICE

       Failure to file a written objection to this Report and Recommendation within ten (10)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).




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